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  8                          United States District Court
  9                          Central District of California
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 11   TROWBRIDGE SIDOTI LLP,                          Case № 8:16-cv-00771-ODW-SK
 12               Plaintiff/Counterdefendant,
 13          v.                           ORDER DENYING
                                          PLAINTIFF/COUNTERDEFENDANT’S
 14                                       MOTION FOR PARTIAL SUMMARY
 15   KIM LISA TAYLOR and                 JUDGMENT [29] AND GRANTING
      SYNDICATION ATTORNEYS,              DEFENDANTS/COUNTER
 16   PLLC,                               CLAIMANTS’ MOTION FOR
 17         Defendants/Counter Claimants. PARTIAL SUMMARY JUDGMENT
 18                                       [30]
 19
 20                                       I.    INTRODUCTION
 21          In this suit and countersuit over the ownership of the domain name
 22   SyndicationLawyers.com (and related domains and brand names), both sides have
 23   moved for partial summary judgment on certain causes of action. (ECF Nos. 29, 30.)
 24   For the reasons discussed below, the Court DENIES Plaintiff Trowbridge Sidoti
 25   LLP’s motion and GRANTS Defendants’ motion.1
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 28     After considering papers filed in support of and in opposition to the motions, the Court deemed
      them appropriate for decision without oral argument. See Fed. R. Civ. P. 78(b); C.D. Cal. L.R. 7-15.
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  1                               II.    FACTUAL BACKGROUND
  2          The parties in this case have a tangled history with one another.
  3   Plaintiff/Counterdefendant Trowbridge Sidoti LLP is a law firm headquartered in
  4   Lake Forest, California. (Compl. ¶ 8, ECF No. 1; Trowbridge Decl. ¶ 2, ECF No. 29-
  5   4.) The two partners of the firm are Eugene Trowbridge and Jillian Sidoti.2 (See
  6   Compl. ¶¶ 10, 20.) Defendant/Counter Claimant Kim Lisa Taylor is an attorney who
  7   currently owns a Florida law firm called Syndication Attorneys, PLLC, which is also
  8   named as a Defendant/Counter Claimant in this case.3 (Countercl. ¶ 23, ECF No. 11.)
  9   Prior to forming Syndication Attorneys, PLLC, Kim Lisa Taylor worked for Eugene
 10   Trowbridge as a contract attorney beginning in 2008. (Id. ¶ 8.) Eugene Trowbridge’s
 11   practice was at that time a sole proprietorship. (Id.; Compl. ¶ 10.)
 12          After working together for some time, Eugene Trowbridge and Kim Lisa Taylor
 13   discussed forming a partnership. (See Taylor Dep., Vol. I, Ex. 6, ECF No. 39-2.)
 14   They also discussed using the domain name SyndicationLawyers.com as a website
 15   and/or brand name for the partnership. (Taylor Dep., Vol. I, Ex. 6.) Specifically, on
 16   June 1, 2009, Kim Lisa Taylor wrote to Eugene Trowbridge in an e-mail,
 17   “‘SyndicationLawyers.com’ is available. I think it would be a nice website address
 18   for us and we can use it for emails also. I can register it with Go-Daddy [sic].” (Id.)
 19   A receipt from GoDaddy.com, Inc. shows that Kim Lisa Taylor reserved the domain
 20   name SyndicationLawyers.com that same day. (Trowbridge Decl., Ex. A.) Eugene
 21   Trowbridge claims to have reimbursed her for the transaction, but Kim Lisa Taylor
 22   states that she has no recollection of being reimbursed for the cost. (See Taylor Decl.
 23   ¶ 9, ECF No. 52-2.) In September 2009, Eugene Trowbridge and Kim Lisa Taylor
 24   officially formed a partnership called Trowbridge & Taylor LLP. (Compl. ¶ 11;
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 26   2
        To avoid confusion with the firm names of Trowbridge Sidoti LLP, Trowbridge Taylor & Sidoti
 27   LLP, and Trowbridge & Taylor LLP, the Court will refer to Eugene Trowbridge, Jillian Sidoti, and
      Kim Lisa Taylor by their full names.
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 28     Defendants/Counter Claimants Kim Lisa Taylor and Syndication Attorneys PLLC will be
      collectively referred to as “Defendants.”



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  1   Registered Limited Liability Partnership Registration, Taylor Dep., Vol. I, Ex. 4.)
  2   Later, on August 30, 2011, Kim Lisa Taylor advised Eugene Trowbridge via e-mail,
  3   “I have all our [domain names] on auto-renew with the Company Credit card so it
  4   [sic] should never expire or get transferred.” (Taylor Dep., Vol. II, Ex. 46.)
  5         In or around January 2014, Jillian Sidoti joined Eugene Trowbridge and Kim
  6   Lisa Taylor to form Trowbridge, Taylor & Sidoti LLP (“TTS LLP”). (Trowbridge
  7   Decl. ¶ 7.) Also in January 2014, TTS LLP began using SyndicationLawyers.com for
  8   its website. (Id. ¶ 8.) The ownership of this website name, in addition to the use of
  9   the terms Syndication Attorney and Syndication Lawyers, are the subjects of the
 10   claims and counterclaims in this action.
 11         On March 21, 2016, Kim Lisa Taylor notified Eugene Trowbridge and Jillian
 12   Sidoti that she would be withdrawing from TTS LLP to form a new law firm in
 13   Florida. (Taylor Dep., Vol. II, Ex. 26.) At the same time, she proposed using the
 14   SyndicationLawyers.com domain name to cross-market her new firm with Trowbridge
 15   Sidoti LLP.      (Id.)   In response, Eugene Trowbridge told Kim Lisa Taylor that
 16   SyndicationLawyers.com was owned by the partnership. (Id. at Ex. 27.) Kim Lisa
 17   Taylor    then     removed    TTS    LLP’s       website   from   the    server     hosting
 18   SyndicationLawyers.com and discontinued e-mails directed to addresses identified by
 19   that domain name. (Taylor Dep. at 175–76.)
 20         This    litigation   ensued.     Trowbridge      Sidoti   LLP     claims    that   the
 21   SyndicationLawyers.com domain name is partnership property, as it was paid for
 22   using partnership funds and intended by all three relevant principals (Eugene
 23   Trowbridge, Kim Lisa Taylor, and Jillian Sidoti) to be partnership property.
 24   However, Kim Lisa Taylor advances additional facts and evidence she claims support
 25   her ownership of the domain name. She asserts that her husband, Christopher Guillet,
 26   suggested to her in 2008 that she market her services under the domain name
 27   SyndicationLawyer.com (singular). (Taylor Decl. ¶ 2.) On or about April 24, 2008,
 28   Guillet purchased and registered that domain name. (Id.) Kim Lisa Taylor used it for




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  1   her private practice between April 24, 2008, and January 1, 2010. (Id. ¶ 3.) Kim Lisa
  2   Taylor purchased and registered the domain name SyndicationLawyers.com (plural)
  3   on June 1, 2009, in her own name. (Trowbridge Decl., Ex. A; Taylor Decl. ¶ 6.) Kim
  4   Lisa Taylor claims that she “never transferred the registration to another name and
  5   thus, never otherwise transferred ownership.” (Taylor Decl. ¶ 6.)
  6         In addition to the dispute over who owns SyndicationLawyers.com and whether
  7   Kim Lisa Taylor converted the property without authorization when she shut down the
  8   site, Trowbridge Sidoti LLP is also suing Kim Lisa Taylor and Syndication Attorneys,
  9   PLLC under a theory of unfair competition. Trowbridge Sidoti LLP’s Complaint
 10   states claims for false designation of origin under Section 43 of the Lanham Act (15
 11   U.S.C. § 1125(a)), state law unfair competition pursuant to California Business and
 12   Professions Code § 17200, and common law unfair competition. (Compl. ¶¶ 35, 37–
 13   40.) These claims are based on Kim Lisa Taylor and Syndication Attorneys, PLLC’s
 14   use of the term “Syndication Attorney(s)” in business, which Trowbridge Sidoti LLP
 15   claims is confusingly similar to its “Syndication Lawyers” marks.” (Id. ¶ 33.) In
 16   2016, Trowbridge Sidoti LLP applied to the United States Patent and Trademark
 17   Office (“PTO”) to register the design mark SyndicationLawyers.com, and the PTO
 18   rejected it due to its being a merely descriptive (not distinctive) mark. (Gelfound
 19   Decl. ¶ 2, Ex. A, ECF No. 33-2.)
 20         The parties’ cross-motions for partial summary judgment are now pending
 21   before this Court. Trowbridge Sidoti LLP’s motion seeks summary judgment as to its
 22   fourth claim for conversion and as to Defendants’ first counterclaim for a declaratory
 23   judgment. (Pl. Mot. for Partial Summ. J. (“Pl. MPSJ”), ECF No. 29.) Defendants’
 24   motion asks the Court to enter summary judgment as to Trowbridge Sidoti LLP’s
 25   unfair competition claims (its first through third causes of action). (Defs. Mot. for
 26   Partial Summ. J. (“Defs. MPSJ”), ECF No. 30.)
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  1                               III.   LEGAL STANDARD
  2         “The court shall grant summary judgment [or partial summary judgment] if the
  3   movant shows that there is no genuine dispute as to any material fact and the movant
  4   is entitled to judgment as a matter of law.” Fed. R. Civ. Proc. 56(a). A party seeking
  5   summary judgment bears the initial burden of informing the court of the basis for its
  6   motion and identifying those portions of the pleadings and discovery responses that
  7   demonstrate the absence of a genuine issue of material fact. See Celotex Corp. v.
  8   Catrett, 477 U.S. 317, 323 (1986). Where the moving party will have the burden of
  9   proof on an issue at trial, the movant must affirmatively demonstrate that no
 10   reasonable trier of fact could find other than for the moving party. See id. On an issue
 11   as to which the nonmoving party will have the burden of proof, however, the movant
 12   can prevail merely by pointing out that there is an absence of evidence to support the
 13   nonmoving party’s case. See id.
 14         If the moving party meets its initial burden, the nonmoving party must set forth,
 15   by affidavit or as otherwise provided in Rule 56, “specific facts showing that there is a
 16   genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).
 17   In evaluating the evidence presented in support of or in opposition to summary
 18   judgment, the court does not make credibility determinations or weigh conflicting
 19   evidence. Rather, it draws all inferences in the light most favorable to the nonmoving
 20   party. See T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630–
 21   31 (9th Cir. 1987). However, conclusory or speculative testimony is insufficient to
 22   meet this burden or to raise genuine issues of fact defeating summary judgment. See
 23   Nelson v. Pima Cmty. Coll., 83 F.3d 1075, 1081–82 (9th Cir. 1996).
 24      IV.    PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
 25         Trowbridge Sidoti LLP asks this Court to find as a matter of law that it owns
 26   the domain name SyndicationLawyers.com. That question of ownership would be
 27   dispositive of Defendants’ first cause of action for a declaratory judgment, as well as
 28   necessary for a finding that Kim Lisa Taylor unlawfully converted Trowbridge Sidoti




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  1   LLP’s property (Trowbridge Sidoti LLP’s fourth cause of action). Because the Court
  2   cannot make this determination as a matter of law, it DENIES Trowbridge Sidoti
  3   LLP’s motion on both counts.
  4   A.    Legal Standard for Partnership Property
  5         Though the parties advance several theories regarding ownership of the domain
  6   name SyndicationLawyers.com, they can all be boiled down to whether the domain
  7   name should be properly classified as partnership property or the separate property of
  8   Kim Lisa Taylor.
  9   The California Corporations Code defines partnership property simply as “property
 10   acquired by a partnership.” Cal. Corp. Code § 16203. It explains that such property is
 11   property of the partnership and not of the partners individually. Id. There are several
 12   ways that a partnership can acquire property. If it is acquired in the name of the
 13   partnership or in the name of “one or more partners with an indication in the
 14   instrument transferring title to the property of the person’s capacity as a partner or the
 15   existence of a partnership but without an indication of the name of the partnership,”
 16   then it is partnership property.    Id. at § 16204(a)(1)–(2).      In addition, property
 17   becomes partnership property by transfer if the transfer is made to (1) the partnership
 18   in its name, or (2) “one or more partners in their capacity as partners in the
 19   partnership, if the name of the partnership is indicated in the instrument transferring
 20   title to the property.” Id. at § 16204(b)(1)–(2). Further, if partnership assets are used
 21   to purchase property, that property is presumed to be partnership property even if not
 22   acquired in the name of the partnership. Id. at § 16204(c). If property is acquired in
 23   the name of one or more of the partners, without an indication in the instrument
 24   transferring title to the property of the existence of the property and without using
 25   partnership assets, that property is presumed to be separate (non-partnership) property,
 26   even if used for partnership purposes. Id. at § 16204(d). The Bankruptcy Appellate
 27   Panel for the Ninth Circuit has stated that “[p]artnership property also does not need to
 28   be purchased with partnership funds but rather . . . is determined by the understanding




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  1   and intention of the partners.” In re Fair Oaks, Ltd., 168 B.R. 397, 402 (9th Cir. BAP
  2   1994) (citing Perelli-Minetti v. Lawson, 205 Cal. 642, 648 (1928)).B. Analysis
  3         The evidence presented here cuts in both directions and does not definitively
  4   establish ownership as a matter of law. On the one hand, the partnership paid for the
  5   renewal fees for the domain name, and Trowbridge Sidoti LLP presents some
  6   evidence that suggests Kim Lisa Taylor intended SyndicationLawyers.com to be
  7   partnership property. (Taylor Dep., Vol. I, Ex. 6 (containing an e-mail from Kim Lisa
  8   Taylor stating, “‘SyndicationLawyers.com’ is available. I think it would be a nice
  9   website address for us and we can use it for emails also.” (emphasis added)); Taylor
 10   Dep., Vol. II, Ex. 46.)        On the other hand, Kim Lisa Taylor acquired
 11   SyndicationLawyers.com in her name alone, and the original registration does not
 12   reference her status as a partner or the partnership name. (See Trowbridge Decl., Ex.
 13   A.) Moreover, Kim Lisa Taylor was not a partner nor had Trowbridge & Taylor LLP
 14   been created at the time she purchased the domain name.          (Compare id., with
 15   Registered Limited Liability Partnership Registration, Taylor Dep., Vol. I, Ex. 4, ECF
 16   No. 39-2.) Kim Lisa Taylor’s own sworn statements also contradict her alleged
 17   intention for the domain name to be partnership property seemingly evidenced in her
 18   e-mail to Eugene Trowbridge. (See Taylor Decl. ¶¶ 6–7.)
 19         Defendants also dispute Trowbridge Sidoti LLP’s characterization of each
 20   successive version of the firm (Eugene Trowbridge, sole proprietorship; Trowbridge
 21   & Taylor, LLP; TTS LLP; and the present version, Trowbridge Sidoti LLP) as a
 22   successor in interest of the one before it. (Opp’n to Pl. MPSJ 12–14, ECF No. 52.)
 23   However, the Court determines that this issue is not material at this juncture. The
 24   Court cannot determine as a matter of law that SyndicationLawyers.com was ever
 25   partnership property, and thus the issue of whether that partnership successively
 26   transformed into the current iteration, Trowbridge Sidoti LLP, is not relevant to this
 27   ruling.
 28         In sum, the available evidence creates a genuine dispute of fact as to whether




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  1   the domain name SyndicationLawyers.com is partnership property or the separate
  2   property of Kim Lisa Taylor. This dispute is material as to the causes of action on
  3   which Trowbridge Sidoti LLP seeks summary judgment: its own cause of action for
  4   conversion and Defendants’ cause of action for a declaratory judgment. Thus, the
  5   Court DENIES Trowbridge Sidoti LLP’s motion.
  6        V.     DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
  7             Defendants argue that the Court should determine as a matter of law that
  8   Trowbridge Sidoti LLP cannot prevail on its unfair competition claims. The Court
  9   agrees that summary judgment is appropriate on these claims and GRANTS
 10   Defendants’ motion.
 11             Trowbridge Sidoti LLP’s first, second, and third causes of action are all
 12   premised on its allegation that it owns a trademark for the phrase “Syndication
 13   Lawyers.” (See Compl. ¶ 33.) In order to allege that Defendants violated various
 14   unfair competition laws based on their use of the “confusingly similar” marks
 15   “Syndication Attorney(s),” then, the validity of Trowbridge Sidoti LLP’s mark is a
 16   necessary element. (Id.); see Credit One Corp. v. Credit One Fin., Inc., 661 F. Supp.
 17   2d 1134, 1137 (C.D. Cal. 2009). Trowbridge Sidoti LLP cannot prove that element.
 18   A.        Legal Standard for Proving Ownership of a Trademark
 19             The standard test of trademark ownership is priority of use. Sengoku Works v.
 20   RMC Int’l, 96 F.3d 1217, 1219 (9th Cir. 1996). Moreover, “federal registration of a
 21   trademark constitutes prima facie evidence of the validity of a registered mark.”
 22   Quiksilver, Inc. v. Kymsta Corp., 466 F.3d 749, 744 (9th Cir. 2006) (internal brackets
 23   omitted). If another party claims that it owns the mark, however, it may rebut this
 24   presumption with evidence establishing its own prior use in commerce. Dep’t of
 25   Parks and Recreation for State of Cal. v. Bazaar Del Mundo Inc., 448 F.3d 1118,
 26   1124 (9th Cir. 2006).
 27             But where there is no federal registration of a mark, a party can only prove
 28   ownership for purposes of the Lanham Act and other unfair competition laws if the




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  1   mark is distinctive (not merely descriptive) or has acquired secondary meaning in the
  2   market in connection with a person or entity’s goods in commerce.              See, e.g.,
  3   Zobmondo Entm’t, LLC v. Falls Media, LLC, 602 F.3d 1108, 1113 (9th Cir. 2010).
  4   B.      Analysis
  5           Here, all of the available evidence demonstrates that Trowbridge Sidoti LLP
  6   does not have an ownership interest in the mark “Syndication Lawyers.” In July 2016,
  7   the PTO refused to register the mark based on its finding that the mark was “merely
  8   descriptive.” (Gelfound Decl. ¶ 2, Ex. A.) Thus, it is not entitled to a presumption of
  9   ownership. See Quiksilver, 466 F.3d at 744.
 10           Trowbridge Sidoti LLP responded to the PTO’s finding by claiming that the
 11   mark had become descriptive through its five years’ use in commerce. (Gelfound
 12   Decl. ¶ 2, Ex. A.) In response, the PTO concluded that the five years of use was
 13   insufficient to show acquired distinctiveness because SyndicationLawyers.com “is
 14   highly descriptive of [Trowbridge Sidoti LLP’s] services” due to the fact that
 15   Trowbridge     Sidoti   LLP   is   “engaging    in   SYNDICATION        LAW      or   are
 16   SYNDICATION LAWYERS.” (Id.) The PTO’s refusal to register the mark occurred
 17   less than one year ago, on December 5, 2016. (Id.) Trowbridge Sidoti LLP did not
 18   submit further evidence of acquired distinctiveness to the PTO following this refusal.
 19   (Id.)
 20           Based on the above information, the Court gives deference to the PTO’s finding
 21   of non-distinctiveness and determines that SyndicationLawyers.com and the phrase
 22   “Syndication Lawyers” are not valid trademarks for which Trowbridge Sidoti LLP is
 23   entitled to protection.   Trowbridge Sidoti LLP attempts to argue that its unfair
 24   competition claims should not be foreclosed as a matter of law because its mark “can”
 25   acquire distinctiveness. (Opp’n to Defs. MPSJ 8, ECF No. 43.) However, it cites no
 26   authority for the proposition that the ability or potential to acquire distinctiveness in
 27   the future carries the right to prevent others from using the (currently non-distinctive)
 28   mark in the present. If that were the rule, any person or entity could essentially




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  1   reserve any non-distinctive mark just by claiming that it was possible for the mark to
  2   acquire secondary meaning, and thus distinctiveness, in the future. The Court cannot
  3   allow such a result.
  4         Trowbridge Sidoti LLP also argues that there is a genuine issue of fact as to
  5   whether the mark has acquired secondary meaning in the minds of the consuming
  6   public (id. at 9), but the Court finds that this argument is conclusory and disagrees
  7   with the sentiment. Trowbridge Sidoti LLP would have to submit overwhelming
  8   evidence of secondary meaning to combat the recent PTO finding that the subject
  9   mark lacks distinctiveness, and it has failed to do so. See Anderson, 477 U.S. at 252
 10   (“[t]he mere existence of a scintilla of evidence in support of the plaintiff’s position
 11   will be insufficient [in a summary judgment proceeding]”). For these reasons, the
 12   Court finds that Trowbridge Sidoti LLP cannot as a matter of law prove its case for its
 13   unfair competition claims (its first through third causes of action). Therefore, the
 14   Court GRANTS Defendants’ motion.
 15                                  VI.    CONCLUSION
 16         For the reasons discussed above, the Court DENIES Trowbridge Sidoti LLP’s
 17   motion for partial summary judgment (ECF No. 29) and GRANTS Defendant’s
 18   motion for partial summary judgment (ECF No. 30).
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 20         IT IS SO ORDERED.
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 22         August 28, 2017
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 24                                ____________________________________
 25                                         OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
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